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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-24670-CIV-UNGARO/MCALILEY

  GENTI JANKULA,

         Plaintiff,

  vs.

  CARNIVAL CORPORATION,

        Defendant.
  ______________________________/

                       MIAMI HERALD MEDIA COMPANY’S
            MOTION TO INTERVENE AND TO UNSEAL JUDICIAL RECORDS

         Miami Herald Media Company ("MHMC"), publisher of The Miami Herald, moves to

  intervene for the limited purpose of seeking access to the filings that have been sealed in this

  action, and for the entry of an Order unsealing those materials. The grounds for this Motion are:

                                     I.      INTRODUCTION

         Plaintiff and Defendant were parties to an arbitration proceeding that resulted in an award

  being issued in favor of Plaintiff. Plaintiff (ostensibly under 9 U.S.C. §207) has petitioned to

  confirm the arbitrator’s award [ECF No. 1]. Defendant (ostensibly under 9 U.S.C. §§10, 208) has

  cross-petitioned to vacate the award [ECF Nos. 13 & 14].

         “Plaintiff [ ] filed [as attachments to his petition] un-sealed and un-redacted orders from

  the arbitration, including the award itself, and referenced the award’s monetary amount in his

  petition to confirm the award” [ECF No. 4] (emphasis added). A few days after Plaintiff filed his

  petition, Defendant moved to have the petition and its exhibits – including the arbitration award –

  sealed from public view. See id. The sole basis for Defendant’s request was that by agreeing to

  have their arbitration conducted in accordance with a specific dispute resolution company’s
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  procedural rules, “[b]oth parties contracted and agreed to keep the arbitration and its results

  private” See id. at pp. 1-3.

            Defendant did not argue that closure was needed to protect trade secrets or sensitive

  commercial information; indeed, Defendant did not argue that the petition and its exhibits

  contained any such information. Nor did Defendant argue that closure was necessary because the

  petition and its exhibits contained Plaintiff’s or Defendant’s personal information, identified the

  names of minors or victims of crime, or contained anything that might otherwise embarrass the

  parties if publicly disclosed. Defendant did not argue that the amount of the arbitrator’s award, if

  publicly disclosed, would harm Plaintiff or Defendant.

            Instead, Plaintiff argued only that the parties’ agreed-to arbitration rules required

  confidentiality and, according to a judge in the Middle District of Florida, “’courts tend to honor

  parties’ decisions to enter into confidential arbitration.’” See id. at pp. 2-3 (quoting Barkley v.

  Pizza Hut of America, Inc., 2015 WL 5915817, at *2 (M.D. Fla. Sept. 12, 2016)). On that basis,

  Defendant argued that there was “good cause” to overcome any common law right of access that

  the press and public have in those materials. See id. Plaintiff joined Defendant’s request [ECF

  No. 5].

            The Court granted Defendant’s motion [ECF No. 6]. The Court’s Order states:

                   The Court finds that good cause exists to seal the petition and the exhibits
                   to it. Here the parties entered into a confidential arbitration agreement. The
                   confidentiality of the arbitration was part of their bargained-for exchange,
                   and courts regularly honor litigants’ decisions to enter into confidential
                   arbitration by sealing those documents. See, e.g., Barkley v. Pizza Hut of
                   Am., Inc., No. 614CV376ORL37DAB, 2015 WL 5915817, at *2 (M.D. Fla.
                   Oct. 8, 2015 (collecting decisions). Accordingly, it is hereby

                   ORDERED AND ADJUDGED that the motion (D.E. 4) is GRANTED.
                   The Clerk SHALL SEAL the following docket entries: D.E. 1, D.E. 1-1,
                   D.E. 1-2, and D.E. 1-3.



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  According to the docket sheet, those docket entries are the petition, the seafarer contract, the final

  arbitration award, and what, in context, seems to be a proposed order confirming the arbitration

  award.

            Plaintiff and Defendant thereafter filed separate motions seeking leave to file various

  materials under seal. Specifically, Plaintiff sought leave to file under seal his consolidated brief

  regarding the parties’ cross-petitions, as well as the exhibits to that consolidated brief [ECF No.

  20]. Defendant sought to file under seal the exhibits to its consolidated brief regarding the parties’

  cross-petitions [ECF No. 20].

            According to the parties’ motions for closure, the exhibits to the consolidated briefs that

  the parties sought to seal were the rules under which the arbitration was conducted, and the

  motions, responses, replies, and orders that were filed in the arbitration. The sole reason that the

  parties offered for closure was that the Court had already approved sealing on the basis of the

  parties’ contract for confidential arbitration. The Court entered an Order granting the parties’

  motions, and that Order was identical to the prior Order granting closure [ECF No. 21]. As directed

  by the Court, the Clerk sealed those documents.

            Through this Motion, MHMC requests the entry of an Order unsealing everything has been

  sealed.

                                          II.    ARGUMENT

  A.        MHMC Has Standing To Intervene For The Purpose Of Obtaining Access To The
            Sealed Materials.

            MHMC, as publisher of The Miami Herald and the employer of professional journalists,

  has standing to intervene for the purpose of obtaining access to judicial proceedings and records

  that have been sealed. See, e.g., Tribune Co. v. United States, 784 F.2d 1518, 1521 (11th Cir.

  1986) (“The press has standing to intervene in actions to which it is otherwise not a party in order

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  to petition for access to court proceedings and records.”); Newman v. Graddick, 696 F.2d 796, 800

  (11th Cir. 1983) (“This Court has upheld the press's standing to seek access in suits to which it is

  not a party.”). MHMC requests that it be permitted to intervene in this action for the purpose of

  seeking access to the sealed materials.

  B.     The Sealed Documents Are Judicial Records To Which MHMC Has A First
         Amendment And Common Law Right Of Access.

         The first step in determining whether the press and public have a right of access to materials

  filed with the Court in a civil action is to determine whether the materials are “judicial records.” It

  does not appear that the Eleventh Circuit, or district courts within the Eleventh Circuit, have

  considered this issue in connection with petitions to confirm or vacate arbitration awards.

         However, courts in other jurisdictions have considered the issue and held that petitions and

  briefing relating to confirming or vacating arbitration awards – including the underlying awards

  themselves – are judicial records to which there is presumptive right of access. See, e.g., Redeemer

  Committee of Highland Strategies Funds v. Highland Capital Management, L.P., 182 F.Supp.2d

  128, 133 (S,D.N.Y. 2016) (quoting Clearwater Insurance Co. v. Granite State Insurance Co., 2015

  WL 500184, at *3 (S,D.N.Y. Feb. 5, 2015)) (“As an initial matter, ‘it is well settled in this District

  that the petition, memoranda, and other supporting documents filed in connection with a petition

  to confirm an arbitration award (including the Final Award itself) are judicial documents that

  directly affect the Court’s adjudication of that petition.’”); Century Indemnity Co. v. AXA Belgium,

  2012 WL 4354816, at *13 (S.D.N.Y. Sept. 24, 2012) (same) (collecting decisions).

         Although the Eleventh Circuit has not directly addressed this issue, its decisions indicate

  that it would reach the same result because the sealed materials have characteristics of pleadings

  and summary judgment briefing, to which there is a presumptive right of access. More specifically,

  Plaintiff’s petition is – in the context of proceedings to confirm or vacate an arbitration award –

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  similar to a complaint, in that it is the document through which Plaintiff initiated this action,

  invoked the jurisdiction of the Court, and demanded relief from the Court. The materials at issue

  are also similar to summary judgment briefing, in that they contain the parties’ arguments

  explaining why the Court should confirm or vacate the arbitration award on the basis of the parties’

  written submissions and, in doing so, conclude the action without any further proceedings.

         This is important because the Eleventh Circuit has held that pleadings and motions for

  summary judgment are judicial records to which there is a public right of access. See Federal

  Trade Commission v. AbbVie Products, LLC, 713 F.3d 54, 62-63 (11th Cir. 2013) (holding that a

  complaint and its exhibits are judicial records); Romero v. Drummond Co., Inc., 480 F.3d 1234,

  1246 (11th Cir. 2007) (quoting United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)) (“A

  motion that is ‘presented to the court to invoke its powers or affect its decisions,’ whether or not

  characterized as dispositive, is subject to the public right of access.”).

         There can be no dispute that the materials that were sealed here are judicial records to

  which there is a presumptive right of access. The next issue is whether that public right of access

  arises from the First Amendment or common law.

         With respect to the First Amendment, the Eleventh Circuit does not appear to have

  addressed the issue, but courts in other jurisdictions have recognized a First Amendment right of

  access to pleadings and summary judgment briefing. See, e.g., Bernstein v. Bernstein Litowitz et

  al., 814 F.3d 132, 141 (2d Cir. 2016) (applying First Amendment right of access to pleadings);

  Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124 (2d Cir. 2006) (applying First

  Amendment right of access to motions for summary judgment). Thus, because the materials that

  were sealed serve the same function as pleadings and summary judgment briefing, the First

  Amendment provides a right of access to them.



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            The Eleventh Circuit has held that, at the very least, there is a common law right of access

  to pleadings and summary judgment briefing. See AbbVie Products, 713 F.3d at 62-63; Romero

  v. Drummond Co., Inc., 480 F.3d 1246. The decisions cited above from other jurisdictions also

  hold that filings relating to confirming or vacating arbitration awards, including the underlying

  awards, are subject to a common law right of access. See Highland Capital, 182 F.Supp.2d at 133;

  Century Indemnity, 2012 WL 4354816, at *13.

            There is a First Amendment and common law right of access to the materials that were

  sealed in this action.

  C.        The Materials Can Be Sealed Only Upon A Showing Of Compelling Interests And
            Extraordinary Circumstances.

            In seeking closure, the parties argued that there was a common law right of access to the

  sealed materials that could be overcome upon a showing of good cause [ECF Nos. 4, p.2; 19, p.2;

  20, pp.1-2]. Neither party mentioned the First Amendment right of access or the heightened

  standard that must be met to obtain closure of materials to which there is a constitutional right of

  access.     Instead, the parties mentioned only good cause and, on the basis of the parties’ very

  limited argument, the Court found that good cause existed to seal the materials. This was incorrect

  because the good cause standard is inapplicable here. Instead, the standard required by the First

  Amendment required the parties to show a compelling interest and extraordinary circumstances,

  and the record does not permit such a finding.

            Where, as here, there is a First Amendment right of access, “the proponent of sealing must

  demonstrate that closure is essential to preserve higher values and is narrowly tailored to serve that

  interest.” See Bernstein, 814 F.3d at 144 (internal quotation marks omitted); see also Lugosch,




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  435 F.3d at 124 (same).1 Here, the parties did not argue – and, thus, the Court had no occasion to

  consider – whether this heightened standard for closure required by the First Amendment was

  satisfied. And, on the limited record that the parties presented to the Court, the heightened standard

  simply cannot be met here. The materials that have been sealed should be unsealed.

  D.     Even If There Is Only A Common Law Right Of Access, That Right Cannot Not Be
         Overcome By A Showing Of Merely Good Cause.

         Even if the common law were the sole source of the public right of access to the materials

  that were sealed in this action – and the First Amendment were inapplicable – Plaintiff and

  Defendant were required to show more than good cause to overcome that right of access.

                 We believe that the weight to be given to the presumption of access must
                 be governed by the role of the material at issue in the exercise of Article III
                 judicial power and the resultant value of such information to those
                 monitoring the federal courts. Generally, the information will fall
                 somewhere on a continuum from matters that directly affect an adjudication
                 to matters that come within a court’s purview solely to insure their
                 irrelevance.

  See United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995). The Eleventh Circuit has

  approvingly cited this holding by the Second Circuit in considering “where precisely the line

  should be drawn” in terms of how to balance competing interests. See Chicago Tribune, 263 F.3d

  at 1311 n.7.




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   The Eleventh Circuit has held that where discovery materials filed in the record of an action are
  at issue, the First Amendment right of access can be overcome by a showing of good cause. See
  Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310 (11th Cir. 2001). The
  Eleventh Circuit has also held that protective orders relating to pretrial discovery, which are issued
  under Rule 26(c) for good cause shown, are not subject to the heightened scrutiny required by the
  First Amendment. See In re: Alexander Grant & Co. Litigation, 820 F.2d 352, 355 (11th Cir.
  1987). Even if the First Amendment could ever be overcome by a showing of nothing more than
  good cause, those decisions are inapplicable here because the materials that were sealed in this
  action – especially the arbitration award, as well as the briefing submitted to the arbitrator – were
  not materials that were exchanged by the parties during pretrial discovery.
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         It is clear that the materials that have been sealed in this action fall in the area of the

  “continuum” that requires more than a showing of good cause. See, e.g., Century Indemnity, 2012

  WL 4354816, at *14 (quoting Global Reinsurance Corp.-U.S. Branch v. Argonaut Insurance Co.,

  2008 WL 1805459, at *1 (S.D.N.Y. Apr. 24, 2008) (“Global II”)) (holding that the presumption

  of access “is reasonably high” for materials in proceedings to confirm or vacate arbitration awards;

  “[i]ndeed, the Awards themselves are ‘the heart’ of what the parties in this case asked ‘the Court

  . . . to act upon.’”) (ellipses in original); Highland Capital, 182 F.Supp.2d at 133 (describing the

  interest in materials to confirm or vacate arbitration awards as “weighty”).

         Here, the Court applied a good cause standard, and found good cause for sealing because

  Plaintiff and Defendant contractually agreed to confidentiality, and courts “regularly honor” such

  agreements [ECF Nos. 6 and 21]. The decision that the Court cited in its Orders held – with

  virtually no analysis – that courts “tend” to honor parties’ agreements to keep arbitration

  confidential. See Barkley v. Pizza Hut of America, Inc., 2015 WL 5915817, at *3 (M.D. Fla. Oct.

  8, 2015). Courts that have considered this issue in much more depth than Barkley have correctly

  reached the opposite conclusion.

                 True, there is a liberal federal policy favoring arbitration agreements. It is
                 also true that the common law right of public access to judicial documents
                 is firmly rooted in our nation’s history. Arbitration remains a species of
                 contract and, in the absence of some governing principle of law (e.g. in the
                 regulatory requirements), parties are permitted to keep their private
                 undertakings from the prying eyes of others. The circumstance changes
                 when a party seeks to enforce in federal court the fruits of their private
                 agreement to arbitrate, i.e. the arbitration award.

  See Global Reinsurance Corp.-U.S. Branch v. Argonaut Insurance Co., 2008 WL 126976, at *1

  (S.D.N.Y. Jan. 7, 2008) closure vacated on rehearing Global II, 2008 WL 1805459 (internal

  citations, quotation marks, and ellipses omitted) (emphasis added); see also Global II, 2008 WL

  1805459, at *2 (“In circumstances where an arbitration award is confirmed, the public in the usual

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  case has a right to know what the Court has done.”) (questioning how a court can order parties to

  comply with an arbitration award, or permit them to ignore it, without making the award publicly

  available); Century Indemnity, 2012 WL 4354816, at *14 (“At bottom, the confidentiality

  agreement at issue in this case may be binding on the parties, but it is not binding upon the Court.”).

         Plaintiff and Defendant sought and received closure on the basis of nothing more than the

  mere fact that they agreed to confidentiality. Not that the materials contain proprietary or trade

  secret information. Not that the materials relate to minor children or identify the victim of a crime.

  Not that the materials contain personal or otherwise embarrassing information. Instead, all that

  was offered in support of closure was that the parties agreed to confidentiality among themselves.

  And, what’s more, neither party mentioned – and certainly did not address – the press’s and

  public’s countervailing interests in monitoring what transpires in federal court especially where,

  as here, the sealed materials are at the heart of what he Court is being asked to do. That the parties

  contractually agreed to confidentiality is insufficient to warrant closure, and there is no other basis

  in the record of this action capable of warranting closure. The materials that were sealed should

  be unsealed.

                                        III.    CONCLUSION

         For these reasons, MHMC respectfully requests the entry of an Order unsealing the

  materials that were sealed.

                                   CERTIFICATE OF COUNSEL

         Counsel for MHMC conferred with counsel for Plaintiff and Defendant before filing this

  Motion. Plaintiff does not oppose the relief requested in this Motion. Defendant opposes it.




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                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 16th day of April 2019, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF System.


                                            s/Scott D. Ponce




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